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                          EXHIBIT 1
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                                           Information Rivian -07/20/20
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                    HIDE ORDER SUMMARY                                                             $1,000.00



                               1

                                                               Rivian Truck                        $1,000.00




                    Subtotal                                                                       $1,000.00

                    Shipping                                                            Calculated at next step




                    Total                                                     USD    $1,000.00

                    Contact Information

                    Email


https://preorders.rivian.com/2322956400/checkouts/343554fe478d2045916f206403776e83                                1/3
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                                           Information Rivian -07/20/20
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                           Keep me up to date on Rivian news and special events.

                           Note: To complete your preorder of a R1T or R1S, we require a refundable
                           deposit of $1,000 (USD) at the time of your submission (the “preorder fee”).
                           This preorder fee will be applied to the balance owed on the Final Sales
                           Agreement between us.

                           You may cancel your preorder at any time by contacting us at
                           preorders@rivian.com and expressing your decision to withdraw. We will
                           process your decision and promptly refund you the full deposit amount
                           ($1,000) via wire transfer to your financial institution.

                           For further information, please see the Terms and Conditions link on the
                           bottom of this page.




                    We’d love to send you a little something in the mail.
                    What’s a good address to use?

                    First name




                    Last name


                    Company (optional)



                    Address



                    Apartment, suite, etc. (optional)


                    City

                    C O U N T R Y/ R E G I O N

                    United States


                    S TAT E

                    California
https://preorders.rivian.com/2322956400/checkouts/343554fe478d2045916f206403776e83                        2/3
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                  California



                    ZIP code



                    Phone


                          Save this information for next time


                                                                 CONTINUE




                    Terms & Conditions




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